       Case 2:20-cv-01720-WBV-KWR Document 1-2 Filed 06/15/20 Page 1 of 2
                                                     U.S. Department of Justice
                                                     Environment and Natural Resources Division
                                                     Environmental Enforcement Section
90-5-1-1-11008/2
P.O. Box 7611                                                                   Telephone (202) 514-3211
Washington, D.C. 20044



                                                     June 2, 2020

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Sent via email and Federal Express

                         Re: Pre-filing Notice of Claims against Taylor Energy Company,
                         LLC regarding Oil Pollution Act and Clean Water Act

Dear Counsel:

       This letter is to notify you that the U.S. Department of Justice is prepared to file claims
on behalf of the United States Coast Guard (“Coast Guard”) against Taylor Energy Company,
LLC (“Taylor Energy”) related to the ongoing discharge of oil from the area leased and
involving the oil and gas production facility owned and operated by Taylor Energy in the Gulf of
Mexico. The discharge began in September 2004, when Hurricane Ivan passed through the Gulf
of Mexico and the oil and gas production facility collapsed and sank. The United States will
seek:

        • The recovery of approximately $43 million in removal costs paid by the Oil Spill
Liability Trust Fund (the “Fund”), administered by the Coast Guard’s National Pollution Funds
Center, in response to the oil discharge from Taylor Energy’s oil production facility in the
MC-20 Block of the Mississippi Canyon area of the Gulf of Mexico, from Taylor Energy as a
responsible party under Section 1002(a) of the Oil Pollution Act (“OPA”), 33 U.S.C. § 2702(a),
and as an owner or operator of an Outer Continental Shelf facility under OPA Section
1004(c)(3), 33 U.S.C. § 2704(c)(3);

                                                                                              EXHIBIT
                                                                                                     A
      Case 2:20-cv-01720-WBV-KWR Document 1-2 Filed 06/15/20 Page 2 of 2

        • A declaratory judgment, under the Declaratory Judgment Act, 28 U.S.C. § 2201(a), the
OPA, 33 U.S.C. §§ 2702(a), 2704(c)(3), 2705, and 2717(f)(2), and the Clean Water Act
(“CWA”), 33 U.S.C. § 1321(f)(4) & (5), against Taylor Energy for all removal costs and
damages, including natural resource damages, to be incurred in this action and in any subsequent
action or actions; and

       • Civil penalties, under Section 311(b)(7) of the CWA, 33 U.S.C. § 1321(b)(7), against
Taylor Energy of up to $48,192 per day of violation or $2,100 per barrel of oil that has been
discharged; or at least $192,768 per day or up to $5,783 per barrel of oil that has been
discharged, to the extent that the discharge of oil was the result of gross negligence or willful
misconduct by Taylor Energy.

         Before filing these claims, we are extending to you the opportunity to discuss settlement.
We are seeking, in settlement of this matter, reimbursement of all costs of removal incurred by
the Fund, a commitment to pay future removal costs and damages incurred by the Fund, and
payment of an appropriate civil penalty, which takes into account the factors listed in Section
311(b)(8) of the CWA, 33 U.S.C. § 1321(b)(8), including a gravity component appropriate under
all the facts and circumstances of the case.

      If you are interested in resolving this matter short of litigation, please contact me
promptly and we can arrange a meeting.



                                              Sincerely,


                                              /s/ R. Shea Diaz                          .
                                              R. Shea Diaz
                                              Richard M. Gladstein
                                              Scott Cernich
                                              Mark Elmer
                                              Samantha Ricci
                                              Environmental Enforcement Section
                                              Environment and Natural Resources Division
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cc:    Patricia V. Kingcade
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